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                                                                UNITED STATES DISTRICT COURT
                               14
                                                                        DISTRICT OF NEVADA
                               15

                               16 BARTELL RANCH, LLC, et al.,                          Lead Case:
                                                                                       Case No. 3:21-cv-00080-MMD-CLB
                                                                         Plaintiffs,
                               17
                                     v.
                               18                                                      LITHIUM NEVADA CORP.’S REPLY
                                                                                       TO BARTELL RANCH, LLC AND
                               19 ESTER M. McCULLOUGH, et al.,                         EDWARD BARTELL’S OPPOSITION
                                                                                       TO COUNTER MOTION FOR
                                                              Defendants,
                               20                                                      SUMMARY JUDGMENT
                                  and
                               21 LITHIUM NEVADA CORP.,                                ORAL ARGUMENT REQUESTED

                               22            Defendant-Intervenor.

                               23

                               24         Lithium Nevada Corp. (“Lithium Nevada”) files this reply to the opposition filed by Bartell

                               25    Ranch, LLC and Edward Bartell’s (“Bartell,” collectively, “BRL”) to Lithium Nevada’s

                               26    counter motion for summary judgment.1 ECF 241.

                               27
                                     1
                                      Terms and acronyms that are used or capitalized but not defined in this Reply shall have the
                               28    same meanings assigned to them within the counter motion.
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                                1                                          I. INTRODUCTION
                                2        BLM substantively responded to BRL’s numerous DEIS comments and demonstrated its
                                3    thorough and extensive analysis of the water system in and around the Project that considered
                                4    thousands of water level/surface flow data points, hundreds of water quality measurements, and
                                5    hundreds of spring flow measurements collected over numerous years. TPEIS-0713 AR067628.
                                6    BLM required a comprehensive water monitoring plan be provided for it and two state agencies
                                7    to review and approve prior to project initiation and will use adaptive management to modify
                                8    and adjust the monitoring program as necessary, and “[a]dditional monitoring data provided by
                                9    other sources may always be added to the database and considered.” AR067623, AR067588.
                               10    BLM even expanded the monitoring and mitigation with an additional one-mile buffer beyond
                               11    projected effects to identify potential impacts over the life of the Project. Extensive monitoring
                               12    is ongoing and will continuously “refine the understanding of the groundwater and surface water
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                               13    system.” AR067587. BRL’s belated attempts to cast doubt on individual measurements that were
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                               14    verified through this comprehensive approach fails to overcome the agency’s more than
                               15    “reasonably thorough,” approach. Save the Peaks Coal. v. U.S. Forest Serv., 2010 U.S. Dist.
                               16    LEXIS 127441, at *58 (D. Ariz. Nov. 30, 2010). Even if BRL’s complaints had merit, they would
                               17    simply amount to harmless error. TPEIS-0713 AR067628.
                               18        Rather than address Lithium Nevada’s citations to BLM’s thorough responses to BRL’s
                               19    challenges of Piteau’s work, BRL raises new unexhausted issues with a collection of prior
                               20    hydrogeological teams incorporated as historical data into the Project analysis. BRL does not
                               21    contest that issues it failed to exhaust with the BLM are waived.2 ECF 239 at 25 n.22. As such,
                               22    all points where Lithium Nevada noted that BRL was raising unexhausted issues are conceded
                               23    and BRL’s new arguments should be rejected. BRL now expands its challenge from a few spring
                               24    measurements near BRL’s property to an additional 14 springs, many of which are far away from
                               25    BRL’s property, in a different hydrologic basin, and outside even the 1-mile buffer area that
                               26    extends outside of the 10-foot drawdown contour. BRL mischaracterizes these measurements
                               27
                                     2
                                      Claims BRL raised after the DEIS comment period concluded are also unexhausted, as the
                               28    agency was not required to analyze such comments. ECF 239 at 13–14.
                                                                                     1
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                                1    with unsubstantiated claims that previous contractors observed flow and simply chose not to
                                2    record it. But the field data forms show that the prior hydrogeologists justified their decisions
                                3    not to attempt certain flow measurements, whether it was because there was “minimal water
                                4    present” or the only water “observed was dripping from the well head.” TPEIS-0027 AR002372,
                                5    AR002387. BRL’s new attempts to discredit the baseline present misleading exaggerations that
                                6    are revealed when the citation is reviewed. See, e.g., ECF 262 at 11 n.19 (“surveyors observed
                                7    significant stream flow”); TPEIS-0027 AR002387 (1Q 2012 field sheet for SP-029, surveyor
                                8    observing “multiple channels” but “[a] sample was not taken as there was minimal water present.
                                9    The water that was observed was muddy and filled with clover.”).
                               10       BRL leaves Lithium Nevada’s explanations of the record and opposing caselaw nearly
                               11    unchallenged, conceding their merits. BRL’s fly specked disagreements with data “uncover[] no
                               12    fundamental flaws or irrationality; rather, [BRL] only succeeds in showing it prefers the results
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                               13    reached by a different methodology,” Tribal Vill. of Akutan v. Hodel, 869 F.2d 1185, 1190 (9th
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                               14    Cir. 1988), and does not demonstrate that BLM omitted or misused information.
                               15                                           II. ARGUMENT
                               16       Rather than rebutting Lithium Nevada’s identified record evidence and arguments, BRL
                               17    repeats the same assertions and now argues that Piteau’s measurements aside, there were errors
                               18    in the previous contractors’ measurements that were included in the historical baseline. BRL
                               19    never raised this in its NEPA comments, and the argument therefore is waived and, in any
                               20    event crumbles in light of the field data sheets. Contrary to BRL’s arguments, BLM provided
                               21    BRL’s requested information, closely evaluated the hydrogeologic data, and BRL’s complaints
                               22    about that data do not demonstrate errors in the analysis. Lastly, BRL lacks standing and its
                               23    FLMPA claims misapply the law and improperly attempt to elevate the RMP Visual Resource
                               24    Management (“VRM”) guidelines to regulatory mandates. BLM complied with NEPA and
                               25    FLPMA in authorizing the Project and the ROD should be affirmed.
                               26           A.      BLM Independently Analyzed and Verified the Water Data.
                               27       Piteau’s measurements demonstrate rigorous scientific and professional integrity,
                               28    confirmed by BLM’s oversight. BRL admits that BLM and coordinating agencies “evaluated
                                                                                    2
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                                1    reports and analysis prepared by Piteau.” ECF 262 at 9. BRL does not contest that BLM
                                2    requested more information and analysis after that evaluation—fulfilling its “independent
                                3    evaluation” obligation. ECF 239 at 6–10; Friends of Earth v. Hintz, 800 F.2d 822, 835 (9th
                                4    Cir. 1986) (agency fulfilled its independent evaluation obligation where it requested reports,
                                5    consulted various agencies, analyzed the information, and asked the consultant questions).
                                6    BRL reargues that the record must demonstrate “BLM[’s] independent evaluation,” but ignores
                                7    Lithium Nevada’s record citations to precisely that evidence. ECF 262 at 8–9, 32. As Lithium
                                8    Nevada previously identified, ECF 239 at 2, BLM’s hydrologist Daniel Erbes asked Piteau for
                                9    the “model dataset,” TPEIS-1022 AR094720, and confirmed that he “review[ed] the model
                               10    input and output datafiles” and “re-r[a]n the model.” TPEIS-1417 AR104464.3 BLM’s
                               11    rigorous review and subsequent defense of the “robust” nature of that data, TPEIS-1399
                               12    AR104151, is entirely distinguishable from the “uncritical[]” review that BRL points to in out-
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                               13    of-circuit cases. Sierra Club v. Van Antwerp, 709 F. Supp. 2d 1254, 1265 (S.D. Fla. 2009)
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                               14    (agency failed to evaluate claims in a report that there was no alternative project site); Utahns
                               15    v. U.S., 305 F.3d 1152, 1165 (10th Cir. 2002) (agency “d[id] not assert that they … verified
                               16    the cost [disputed] estimates”). BLM thus independently evaluated Piteau’s baseline data.
                               17        BRL pulls back from its argument that BLM was required to “independently measure[]
                               18    springs” and now contends only that such “visits can be integral to the court’s analysis” and
                               19    were “critical” here. ECF 262 at 9, 20, 31. But “[t]he AR is clear that Piteau responded to
                               20    Bartell’s concerns and, in every instance, confirmed its own data on review or through
                               21    additional evaluation.” ECF 239 at 9. BRL does not dispute citations explaining that even
                               22    where other “equally reasonable” measurement assumptions exist, the agency is not required
                               23
                                     3
                                      BRL reargues that “BLM did not have time to visit springs locations.” ECF 262 at 31. But the
                               24    cited TPEIS-1411 email states “[m]ore time to review the baselines and to see the sites in the
                                     field would have been helpful.” As BLM did review the baselines, this email does not
                               25    demonstrate that no spring site visits occurred. The email is at best more evidence of BLM
                                     employee inconsequential comments that, as even the writer acknowledged, did not make the
                               26    model unhelpful. Id. BRL contests that although the employee said that “it is still useful data,”
                                     she could not have meant it was useful for the baseline, only for the model. ECF 262 at 27 n.44.
                               27    But a baseline is needed for the model, so data useful in the model is useful for the baseline.
                                     Furthermore, the field survey forms included photographs to give reliable evidence of the
                               28    location, conditions, and seasonal variations at the time of each visit. See generally TPEIS-0076.
                                                                                     3
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                                1    to “duplicate the work already done” where the assumptions were “reasonable.” Id. at 8; cf.
                                2    Cal. Trout v. Schaefer, 58 F.3d 469, 474 (9th Cir. 1995) (“Requiring the Corps to duplicate
                                3    the[] efforts” of another agency conducting applicable studies “would be nonsensical”). BRL
                                4    admits that in “work[ing] with Piteau on baselines,” BLM reviewed Piteau’s reports and
                                5    analysis.4 ECF 262 at 31, 9. Those reports presented the data and compared it to the
                                6    photographs and descriptions in the spring forms, leading BLM to determine the data
                                7    reasonably reflected the conditions observed. None of BRL’s cases provide an example where
                                8    the agency conducted its own measurements to double-check a NEPA contractor’s data.5 And
                                9    BLM made a Project site visit in 2018. TPNHPA-0043 AR-000591. Identifying examples of
                               10    agencies sometimes making site visits does not demonstrate that BLM was obligated to
                               11    reconstitute Piteau’s data set through multi-seasonal re-measurements.6 BLM demonstrably
                               12    conducted a statutorily reasonable independent evaluation of Piteau’s work, did not identify
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                               13    data adequacy issues, and approved its inclusion into the FEIS. The fact that BRL disagrees
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                               14    does not erase that effort or reflect agency error. ECF 262 at 32 n.50.
                               15            B.     The Project’s Baseline is Robust.
                               16        BRL impliedly admits that its prior arguments were flyspecking—rather than substantively
                               17    respond to issues, BRL identified new alleged inconsistencies in pre-Piteau measurements to
                               18
                                     4
                                       BRL claims that BLM proved it did not evaluate Piteau’s work because in its briefing BLM
                               19    stated it “evaluated … the reports and models.” ECF 262 at 32. The reports contained the data,
                                     and BRL does not contest Lithium Nevada’s record citations where the BLM hydrogeologist
                               20    affirmatively stated that he reviewed the data itself. BLM also stated that “BLM
                                     … independently evaluate[d] the data underlying that analysis.” ECF 238 at 26.
                               21    5
                                       Lange v. Brinegar, 625 F.2d 812, 818–19 (9th Cir. 1980) (agency “made four or five field trips
                               22    of the route” for planned road); Roseville v. Norton, 219 F. Supp. 2d 130, 166 (D.D.C. 2002)
                                     (staff attended “site reviews”); Save Our Wetlands, Inc. v. Sands, 711 F.2d 634, 643 (5th Cir.
                               23    1983) (official relied on “knowledge of the area” and “viewed … photographs of the area” to
                                     evaluate contractor’s assessment); Airport Impact Relief, Inc. v. Wykle, 192 F.3d 197, 208 (1st
                               24    Cir. 1999) (“staff visits to the East Boston area to examine the … locations”); Sierra Club v.
                                     Marsh, 714 F. Supp. 539, 557 (D. Me. 1989) (agency personnel toured the project location).
                                     6
                               25      BRL quotes BLM’s brief to argue BLM did not evaluate Piteau’s “compliance with the
                                     Workplan.” ECF 262 at 9. But BLM made clear that it “exercised the requisite oversight,” ECF
                               26    238 at 26, and Lithium Nevada explained in detail how Piteau complied with each element of
                                     the Workplan. ECF 239 at 19–25. Piteau’s compliance with the workplan is evident in its reports,
                               27    which show that the workplan’s elements were followed. BRL’s assertion that BLM did not
                                     analyze the Piteau reports in the context of the Workplan is belied by the fact that Piteau’s reports
                               28    provided all the Workplan’s requested information. See infra § II.B.1.
                                                                                      4
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                                1   inflate the percentage of “objectionable” streams. These claims are unexhausted and waived,
                                2   but also mischaracterize the measurements taken. It is false that 40% of the spring flow
                                3   measurements are “unknown,” as the referenced pre-Piteau water surveys clearly identified
                                4   that while there was water present, there was no flow to measure. BRL misinterprets the
                                5   surveyors’ observations and disagrees with their expert interpretation: the record shows each
                                6   spring was properly documented as having zero flow. And despite the lack of observed
                                7   measurable flow, the baseline was not set at zero but instead reflected presence of water taking
                                8   a conservative approach. BRL does little to contest Lithium Nevada’s evidence that Piteau’s
                                9   measurements complied with the approved workplan and incorporated even BRL’s additional
                               10   Stevens Protocols elements. The AR demonstrates that Piteau did not knowingly trespass on
                               11   BRL’s land, and the belatedly-raised older measurements explicitly noted that for springs on
                               12   BRL’s land “right-of-way access is granted.” TPEIS-0027 AR002396 (1Q 2012 SP-035 field
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                               13   sheet). And both surveyors’ measurements were based on their documented observations.
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                               14       BRL’s attempt to “flyspeck” particular measurements over years of surveying are
                               15   insufficient to show a NEPA violation. Protect Our Cmtys. Found. v. Jewell, 825 F.3d 571,
                               16   582 (9th Cir. 2016) (“Plaintiffs merely ‘fly speck’ the EIS rather than identify consequential
                               17   flaws that would prevent the agency from sufficiently grasping the Project's potential
                               18   environmental consequences.”). BRL does not demonstrate gaps in Piteau’s data.7 All of the
                               19   surveyors made detailed observations over multiple years at key sites in the Project on field
                               20   sheets that vindicate the decision to measure certain springs as “no flow.” Bartell does not
                               21   argue he would have measured the 2011–2013 springs differently, he contends that someone
                               22   could have measured flow where the consultants determined there was inadequate flow to do
                               23

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                                    7
                               26    BRL’s repeated cite to Oregon National Desert Association (“ONDA”) v. Jewell, 840 F.3d 562
                                    (9th Cir. 2016) is still misplaced—where ONDA identified data gaps, BRL proffers different data
                               27   points. BRL challenges where prior surveyors determined “no flow” was measurable but that
                                    does not equate to failing to survey an area and then assuming a figure that was not accurate. Id.
                               28   at 567 (no surveys conducted to determine if GSG were present at the site).
                                                                                    5
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                                1   so accurately. BRL’s disagreements with Piteau’s process, measurements, and use of prior
                                2   measurements, remain meritless.
                                3                  1.      The Comprehensive Surveys Followed Agreed-Upon Protocols.

                                4       Piteau followed BLM-identified protocols and BRL’s disagreements simply misinterpret

                                5   the underlying recommendations. BRL accepts that BLM directed Piteau to follow specific

                                6   Level 1 protocols. But where the flow measurement requirement, listed as a “Level 1” protocol,

                                7   may have incorporated related Level 2 elements, BRL contends that BLM therefore required

                                8   Piteau to follow all of the Level 2 Protocols. ECF 262 at 4 n.5. Where elements of the

                                9   Workplan correspond to specific Level 2 Protocols it does not incorporate BRL’s entirely

                               10   unreferenced Protocols, and the Court is “‘most deferential’ when the agency is ‘making

                               11   predictions, within its [area of] special expertise’” using a model. Lands Council v. McNair,

                               12   537 F.3d 981, 993 (9th Cir. 2008) (citation omitted). AR evidence demonstrates Piteau fulfilled
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                               13   all identified Protocols, required or not. Piteau did not omit measurements, and instead
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                               14   increased the monitoring locations from prior surveys to ensure a robust baseline. TPEIS-0711

                               15   AR067399–400.8 BLM’s confirmation of Piteau’s compliance with the applicable protocol

                               16   elements and BLM Guidelines9 demonstrates reasonable analysis of the baseline.10

                               17       Piteau followed the specific Stevens Protocols Level 2 survey recommendations that BRL

                               18   argues were violated—to avoid trespass, utilize sketch maps, take physical notes during

                               19   surveys, and measure flow in a seasonally and locationally appropriate manner. BRL argues

                               20   that its own emails alleging trespass constitute “evidence” and repeats that it has “no

                               21   trespassing” signs on the property. BRL does not contest that Piteau did not see the signs,11 but

                               22
                                    8
                               23     While Piteau’s baseline utilized “collected data from 56 seeps and springs,” BRL is correct that
                                    some data was collected by prior surveyors. TPEIS-0711 AR066149.
                                    9
                               24     BRL does not dispute that Piteau fulfilled the BLM Guidelines for “Data Adequacy Standards,”
                                    Water Resources Analysis, Data, and Groundwater Modeling Guidance. ECF 239 at 20–21.
                               25   10
                                       BRL’s examples where agencies used faulty methodologies are inapposite—BRL and BLM
                               26   both agree that certain Stevens Protocols apply to the Workplan. Cf. League of Wilderness Defs.-
                                    Blue Mts. Biodiversity Project v. U.S. Forest Serv., 2004 U.S. Dist. LEXIS 24413, at *22 (D. Or.
                               27   Nov. 19, 2004) (determining a model “inadequate for use” because “it was explicitly recognized
                                    as being inapplicable” to the data used).
                                    11
                               28      The AR does not demonstrate the signs were in place during Piteau’s measurements.
                                                                                    6
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                                1   claims that Piteau should not have relied on the map it used and should have known from older
                                2   reports in 2013 that the land was private. But although those reports noted that SP-023 and SP-
                                3   035 were on private land, the field sheets that BRL cites to reveal those surveyors had “right-
                                4   of-way12 access … granted.” TPEIS-0027 AR-002396 (1Q 2012 SP-035 measurement)—
                                5   which explains why BRL does not now allege that previous surveyors trespassed.
                                6        At some point, access was granted and the springs on BRL’s property were considered
                                7   publicly accessible due to the proximity to the perceived public road. AR002119 (2Q 2012
                                8   note that “SP-023 … SP-035 … are also located on private property but are easily accessible
                                9   from the road and fall within the right-of-way. Thus, permission is not required.”). Piteau did
                               10   not see “no trespassing” signs and BRL alleges that Piteau read these field reports, which state
                               11   that “permission was not required.” There is no evidence of Piteau “‘willfully going onto
                               12   another’s property’ after having been warned … not to trespass” as required for “trespass”
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                               13   under Nevada law. McCall v. Las Vegas Metro. Police Dep’t, 2020 U.S. Dist. LEXIS 52264,
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                               14   at *5 n.1 (D. Nev. Mar. 23, 2020).13 In any event, the Stevens Protocols recommend landowner
                               15   outreach to benefit the survey by “focus[ing] monitoring” and “ensure the security and
                               16   ownership of the inventory data.” TPEIS-0642 AR060685. There is no question that Piteau
                               17   focused its monitoring on BRL’s concerns and there was never fear for data security.14
                               18   Therefore, BRL cannot demonstrate Piteau trespassed, or call the data collected into
                               19

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                                    12
                                       BRL asserts that the right-of-way is “non-existent,” but does not address these prior statements.
                               23   13
                                       BRL’s 1880 caselaw is superseded by statute and the remaining out of state cases inapposite.
                               24   ECF 262 at 25. No evidence shows Piteau trespassed or mismeasured streams or why he would.
                                    It makes no sense for Piteau to spend over a year accessing springs to build a case that the area
                               25   would be unaffected, then commit to the extensive monitoring plan, TPEIS-1408 AR104274,
                                    risking the results would contradict prior work. While BRL abandons its initial argument that
                               26   Piteau was dishonest for money, this argument provides no reason for trespass, and no “corrupt[]
                                    or impur[e]” motive.” Id. Piteau demonstrated integrity, and BLM’s “substantial supervision”
                               27   and use of Piteau “only … for technical expertise or to supplement staff” corroborated that
                                    integrity. AWARE v. Colo. DOT, 153 F.3d 1122, 1129 (10th Cir. 1998); supra § II.A.
                                    14
                               28      BRL does not contest Bartell was provided data from his springs. TPEIS-0406 AR048358.
                                                                                     7
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                                1   question—the public or private nature of the two springs’ measurements does not alter
                                2   photographs or disrupt flow measurements, meaning the veracity of Piteau’s data remains.15
                                3        BRL argues that “[f]ield data sheets” and “sketchmaps” are important Stevens Protocols
                                4   but does not dispute Lithium Nevada’s identification of AR evidence that Piteau used both.
                                5   Piteau identified its springs on “more efficient and accurate” digital sketch maps, TPEIS-0642
                                6   AR060701, and used detailed survey forms to compile notes taken in field notebooks during
                                7   surveys, fulfilling the purpose of the Stevens Protocols’ recommendation to use field data
                                8   sheets to record data “on hard copy sheets.” AR060687.16 BRL’s extra-record testimony is not
                                9   to the contrary, and the cited pages do not address this argument. ECF 208-2 at 12, 20.
                               10        BRL’s final claim under the Stevens Protocols is that Piteau should have measured in
                               11   different places to obtain the “appropriate” maximum discharge. BRL contests Piteau’s SP-
                               12   035 measurements as taken at the orifice, but does not respond to Lithium Nevada’s
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                               13   explanation that, although another part of the “groundwater upwell on the property” had higher
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                               14   flow, that area was “categorized separately,” which explained why Piteau’s SP-035
                               15   measurement was lower than the one BRL’s Dr. Powell obtained. TPEIS-0713 AR067619–
                               16   20.17 As for SP-036, BRL reargues that Piteau mis-measured it, but does not contest that the
                               17   Stevens Protocols’ flow measurement recommendations allow that such measurements are
                               18   influenced by the type of flow at issue. TPEIS-0642 AR060709. Given “actual contribution
                               19   from SP-036,” as opposed to flow intermingled from other identified springs, any baseflow
                               20
                                    15
                                       Nor would the hydrogeological model change even if these two springs were omitted. TPEIS-
                               21   0406 AR048356. These springs are not “vital to BLM’s conclusion that the [Project] would not
                                    impact water rights.” ECF 262 at 24 n.37. BRL does not contend trespass for SP-023, also on
                               22   his property but measured by pre-Piteau surveyors. When informed of BRL’s concern, LNC
                                    apologized to Mr. Bartell and instructed its staff and consultants to stay off this road. Id. BRL
                               23   does not contend that Piteau trespassed to access SP-035 or SP-042 after this conversation.
                                    16
                               24      BRL does not contest the photos on the Spring Survey forms are reliable. ECF 239 at 23–24.
                                    17
                                       As for BRL’s argument that Piteau incorrectly measured SP-035 as having no flow, ECF 262
                               25   at 10, there is no alternative explanation for Piteau’s observation that “[n]o surface flow was
                                    observed discharging from these areas at the time of Piteau’s survey.” TPEIS-0713 AR067619–
                               26   20; TPEIS-0076, AR008498 (Q1 2018 SP-035 “[n]o flow”); id., (Q2 2018 at 15 (SP-035 “[n]o
                                    flow”); AR008819 (Q3 2018, SP-035 “[n]o flow”); AR008642 (Q4 2018, SP-035 “[n]o flow”).
                               27   Although BRL still disagrees, ECF 262 at 10 n.14, were SP-035 to have flow, Piteau mapped it
                                    as contributing to Crowley Creek. TPEIS-0711 AR066321 (map identifying SP-035 as forming
                               28   part of the middle of Crowley Creek).
                                                                                   8
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                                1   was “masked” and Piteau appropriately measured no flow. TPEIS-0713 AR067622.18 Piteau
                                2   determined its measurement point for SP-036 applying its expert judgment as to where best to
                                3   measure flow, and BRL’s contrary measurement is simply taken at a different place. TPEIS-
                                4   1489 AR106690; TPEIS-0713 AR067622 (agreeing that Upper and Middle reaches of Pole
                                5   Creek were flowing … from 25-95 gpm).19 BRL’s “disagree[ment] with the methodology does
                                6   not constitute a NEPA violation” and this Court should defer to Piteau’s measurement at the
                                7   point it deemed the maximum measurable discharge. Native Ecosystems Council v. Weldon,
                                8   697 F.3d 1043, 1053 (9th Cir. 2012).
                                9        BRL repeats its argument that SP-047 (Sheep Creek) was mis-measured but does not
                               10   respond to Lithium Nevada’s evidentiary or procedural defenses. First, BRL did not raise
                               11   issues with SP-047’s measurement in its NEPA comments so this argument is waived.
                               12   Havasupai Tribe v. Robertson, 943 F.2d 32, 34 (9th Cir. 1991). Second, BRL’s argument that
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                               13   “a different hydrogeologist[’s]” flow record more accurately reflected maximum discharge is
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                               14   incorrect and another expert battle. ECF 262 at 8. While SP-047 may be a “gaining reach,” it
                               15   is located far from the Project “on the other side of the [Kings River Valley] divide” and Piteau
                               16   made the decision to measure at the “[s]pring orifice found along rangefront exposure in the
                               17   hillside.” TPEIS-0076 AR008509. Whether BRL’s alternative measurement is connected to
                               18   the spring and constitutes the same reach is unclear and immaterial to the Project’s impacts.
                               19        Similarly, BRL’s new challenge of SP-048 measurements is unexhausted and waived. But
                               20   even were the Court to analyze the claim that SP-048 should have been measured at a point
                               21   where BRL claims the highest flow occurs (in a culvert under the road), TPEIS-0076 AR-
                               22   008510, that flow rate did not change across four seasons and does not represent SP-048’s
                               23   flow. AR008510 (Q1); Q2 2018, App. A at 41 (Q2); AR008845 (Q3); AR008668 (Q4). Piteau
                               24   reasonably measured downstream of the orifice where there were “good channel conditions”
                               25
                                    18
                               26      But the hydrogeological model conservatively assumes a potential risk to certain springs within
                                    a 10-foot contour and Lithium Nevada will still monitor SP-036 as part of an additional 1-mile
                               27   buffer zone beyond the 10-foot contour. TPEIS-0384 AR045714.
                                    19
                                       Piteau’s measurements of SP-036 in 2020 validated the model’s predictions. TPEIS-0713
                               28   AR067622. This information is in Piteau’s report which BLM reviewed and understood.
                                                                                    9
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                                1   to record SP-048’s flow. An expert decision on where to measure flow is reserved to BLM’s
                                2   discretion and entitled to deference.20 Native Ecosystems, 697 F.3d at 1053 (disagreeing with
                                3   the agency’s methodology does not constitute a NEPA violation.).
                                4                  2.      BLM’s Baseline Measurements are Accurate.

                                5        BRL disputes, for the first time in either the NEPA review or this case, certain measurements

                                6   from pre-Piteau surveys. These unexhausted arguments are waived. Ventana Wilderness All. v.

                                7   Bradford, 2007 U.S. Dist. LEXIS 48366, at *13 (N.D. Cal. June 27, 2007). As revealed below,

                                8   BRL challenges one or two measurements per spring, which cannot amount to concerns about

                                9   “40 percent” of the flow measurements. Each spring’s flow average is the result of multiple

                               10   quarters of flow measurements, meaning BRL still ultimately challenges only a fraction of the

                               11   data collected for the baseline. BRL’s challenges are meritless because the survey forms match

                               12   the surveyors’ recorded observations. BRL asserts that responding to these new arguments “will
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                               13   require a fact-intensive inquiry,” boldly asserting the prejudice. ECF 262 at 10 n.15. But even if
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                               14   the Court considered these new arguments, the older stream measurements document the

                               15   surveyors’ recorded observations reflected in the survey forms. Where BRL contests the proper

                               16   way to measure particular springs, NEPA does not “require [the Court] to resolve disagreements

                               17   among various scientists as to methodology” and defers to the agency. Inland Empire Pub. Lands

                               18   Council v. Schultz, 992 F.2d 977, 981 (9th Cir. 1993).

                               19                       a. Pre-Piteau Spring Measurements

                               20        In asserting that there was “documented flow” to argue unreliability or error in spring

                               21   surveying, BRL fails to acknowledge that the past surveyors were simply noting that, while there

                               22   was some evidence of water, there was insufficient “flow” to accurately record a measurement.

                               23   Extensive monitoring, both previous and ongoing, ensure that BLM can observe and mitigate

                               24   any impacts of the Project to the surrounding environment. TPEIS-0384 AR047986

                               25   (“Monitoring during the early stages of the project would provide opportunities to refine the

                               26   understanding of the groundwater and surface water system”); AR045573 (“monitoring plan

                               27
                                    20
                                     It is therefore not “admitted or well established that Piteau … fail[ed] to follow the Stevens
                               28   Protocols.” ECF 262 at 8.
                                                                                    10
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                                1   would be provided by LNC to the BLM, NDWR, and NDOW for review and approval prior to
                                2   project initiation”). BRL now challenges hydrology measurements that are mostly of springs far
                                3   away from its property and the Project, asserting that of over 50 springs measured,21 12 have
                                4   alleged “[e]rrors or insufficiencies.” ECF 262 at 10. BRL is incorrect. BRL first claims seven
                                5   springs (BLM-02, SP-008, SP-029, SP-030, SP-032, SP-035, and SP-042) incorrectly have a
                                6   “baseline flow of zero” because there was “observed flow,” which was “documented flow at all
                                7   quarters of the year” for five (unidentified) of the seven. Id. at 10.22 But the survey records show
                                8   that while each spring was properly documented as having zero flow,23 the baseline was still not
                                9   set at zero. Instead, “[b]ased on comments provided,” Piteau and BLM “assigned non-zero flux
                               10   targets” in the hydrogeological model for SP-055, SP-036, a spring in Rock Creek, and springs
                               11   in Pole Creek.” TPEIS-0713 AR067664. BRL also challenges the observed baselines of “<1
                               12   gpm” for SP-006,24 SP-010, and SP-031,25 claiming the prior surveyors “never actually
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                               13   21
                                       BRL argues Lithium Nevada “falsely asserted Piteau measured” all 56 springs. Where Lithium
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                                    Nevada referenced “Piteau’s measurements” it was ascribing the data already collected as
                               14   “Piteau’s” due to Piteau’s use of the data in the hydrogeological model. As is clear in this section,
                                    Piteau did not take the measurements BRL now challenges, but did use them in the model.
                               15
                                    22
                                       BRL argues that because these springs are classified perennial, they cannot have “zero average
                               16   flow.” ECF 262 at 10. Piteau accurately documented presence of standing water as “perennial”
                                    but the absence of measurable water movement meant the average gpm was zero. Conservatively
                               17   terming these springs “perennial” means they are identified for possible monitoring. If those
                                    springs were termed ephemeral, it would be expected they may dry up intermittently.
                               18   23
                                       TPEIS-0027 (1Q 2012) AR002358 (BLM-02 “A flow measurement was not taken because the
                                    water was not concentrated in one area.”); AR002372 (SP-008 “minimal water present[,] [but]
                               19   [w]ater was observed dripping from the well head”); AR002387 (SP-029 “minimal water
                                    present”); AR002388 (SP-030 “grasses … observed in the [multiple] spring channels,” implying
                               20   insufficient water); AR002391 (SP-032 grasses and clover …observed in the [multiple] spring
                                    channel[s],” implying insufficient water); AR002396 (SP-035 “clover … observed in the
                               21   [multiple] spring channel[s],” implying insufficient water); TPEIS-0076 AR008656 (SP-042 “no
                                    flow”); TPEIS-0027 (2Q 2012) AR002156 (SP-008 “spring origin [only] damp”); AR002156
                               22   (SP-029 “water flowed … under common reed grass[,] [c]attle had trampled a path to the spring
                                    source, but that path was not an acceptable location to sample the water”); AR002158 (SP-030
                               23   “cattle disturbed the spring channel[,] [t]he water that had pooled was murky and muddy”);
                                    AR002160 (SP-032 “water flowed through many channels under cover” of vegetation).
                               24
                                    24
                                       BRL argues that the surveyor should have recorded SP-006’s flow via the pipes present, but
                               25   the spring form’s observation attributed that flow to “watering troughs with plastic piping
                                    developed by a local rancher,” not natural spring flow. TPEIS-0027 AR002553 (2Q 2011).
                               26   25
                                       BRL contends that when surveyors recorded SP-031 flows, it was “always greater than 1 gpm,”
                                    meaning the “<1” gpm was incorrect. But math-wise, five measurement attempts producing only
                               27   two instances of flow does indeed come out to less than 1 gpm. TPEIS-0027 AR002159 (2Q
                                    2012, SP-031 “Flow (gpm): 1.98”); AR002088 (2Q 2013, SP-031 “Flow (gpm): 1.59”); but see
                               28

                                                                                     11
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                                1   measured” the flow. ECF 262 at 10–11.26 Oddly, this seems to be the approach BRL would prefer
                                2   with its first set of springs—BRL noted there was water but the surveyors determined it was not
                                3   enough to measure. But for these three springs, the experts determined there was sufficient water
                                4   movement for the surveyors to conservatively indicate above-zero flow, but not enough to take
                                5   a measurement.27 “[T]he manner in which an agency resolves conflicting evidence is entitled to
                                6   deference so long as it is not arbitrary and capricious.” Trout Unlimited v. Lohn, 559 F.3d 946,
                                7   958 (9th Cir. 2009). The photos and measurements belie BRL’s claim that the surveyors
                                8   “observed significant flow.” BRL provides no evidence or reason why these previous surveyors
                                9   would intentionally under-measure flow or evidence. The surveyors measured flow when they
                               10   identified that it was present and measurable. Compare TPEIS-0027 AR002159 (2Q 2012 SP-
                               11   031 “Flow (gpm): 1.98”); AR002169 (2Q 2012 SP-038 “Flow (gpm): 0.34”); with AR002390
                               12   (1Q 2012 SP-031 no measurement due to “minimal presence of water”); AR002401 (1Q 2012
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                               13   SP-038 no measurement due to “standing and muddy” water). BRL’s disagreement, based solely
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                               14   on its misinterpretation of the surveyors’ notes, does not show a NEPA violation, and BRL’s
                               15   attempt to increase its contested spring measurements to 55% “of the [22] perennial springs” are
                               16   unexhausted and unavailing. Earth Island Inst. v. U.S. Forest Serv., 351 F.3d 1291, 1301 (9th
                               17   Cir. 2003) (agency “entitled to wide discretion in assessing the scientific evidence”).28 BRL does
                               18
                                    AR002390 (1Q 2012, “minimal presence of water,” no measurement); AR002340 (4Q 2012
                               19   measured “N/A”); AR002296 (1Q 2013, “flow was minimal,” measured “N/A”). Piteau
                                    accurately calculated an average of less than 1: (1.59+1.98+[0 x 3])/5 = .714.
                                    26
                               20      BRL complains that where the surveyor saw “extensive flow through multiple channels” it
                                    should have measured SP-010. ECF 262 at 11 n.18. BRL exaggerates and substitutes its opinion.
                               21   TPEIS-0027 AR002373 (1Q 2012 observing SP-010 flow “through many channels” but noted
                                    “snow present near the spring origin,” causing doubt as to the impetus for the flow); AR002623
                               22   (2Q 2011 estimating SP-010 flow as “<1 gpm” because it was “influenced by Thacker Creek”).
                                    27
                               23      TPEIS-0027, AR002553, AR002520 (2Q 2011 SP-006 is “not measurable” but “discharge …
                                    drains westward”); AR002561, AR002623 (2Q 2011 SP-10 is “not measurable” but “runoff …
                               24   is … discharged generated from snow melt”); AR002051 (4Q 2011 SP-006 “spring origin was
                                    wet” but “water in the spring channel was frozen”); AR002054 (4Q 2011 SP-010 “water flowed
                               25   freely through many channels … under a section of ice”).
                                    28
                                       BRL attempts to differentiate its “factual accuracy” attacks from its disagreement with Piteau’s
                               26   methodology. But where BRL is arguing nuance and the best interpretation of data that is
                                    difficult to measure, “[t]he agency plausibly explained that apparent differences” in the data
                               27   arose from measurement locations, interpretation of negligible flow, and measurement
                                    methodology, it was not “arbitrary and capricious in relying on its own data and discounting
                               28   [BRL’s] alternative evidence.” Earth Island Inst., 351 F.3d at 1302.
                                                                                    12
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                                1   not identify errors, but just presents its own interpretation. BLM explained that where “there is
                                2   some uncertainty regarding potential reductions in baseflow” BLM “require[s] monitoring and
                                3   mitigation measures to address any unforeseen impacts.” TPEIS-0713 AR067587.
                                4        BRL also now argues that BLM-03 and SP-023 were not classified as “perennial”29 but had
                                5   “four straight quarters” of “documented flow.” ECF 262 at 11–12. But the surveyors’ notes show
                                6   BRL’s characterization of these streams as having “documented flow” is another exaggeration.30
                                7   BRL argues that where there was too little flow, measurements should not have been recorded
                                8   as “zero” flow, and thus, Piteau should have determined the baseline “insufficient.” ECF 262 at
                                9   12 n.22. But where the prior surveyors clearly indicated “<1 gpm” where they believed it
                               10   appropriate, Piteau reasonably interpreted that estimate as describing dampness or insufficient
                               11   flow as a “zero” measurement.31 As the Stevens Protocols states, “flow measurements at springs
                               12
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                                    29
                               13      BRL raises another unexhausted argument, that springs BLM-002, BLM-003, SP-029, SP-030,
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                                    SP-031, SP-032, SP-035, SP-047, and SP-048 deemed “ephemeral” must be perennial because
                               14   it was observed that they contained springsnails. ECF 262 at 12 n.20. But the document that BRL
                                    relies on to assert that springsnails cannot occur in ephemeral springs is a post-FEIS submission
                               15   from the ENGO plaintiffs and was not before BLM during the NEPA process. TPEIS-0826. But
                                    even if it were, the report only says ephemeral springs “rarely” support springsnails and they
                               16   “generally” occur in perennial springs but acknowledged that “spring ecosystems are highly
                               17   individualistic.” AR072172, AR072100. Furthermore, the report identifies the types of springs
                                    where springsnails are found (helocrenes, hillslope springs, and rheocrenes), AR072099, which
                               18   are the same environments within the identified ephemeral springs. TPEIS-0076 2019 GPS
                                    Shape Files, Datasheet at Table 5.1 (identifying BLM-002, BLM-003, SP-029, and SP-048 as
                               19   Rheocrene; SP-030, SP-031, SP-032, SP-047 as hillslope; SP-035 as heleocrene). Even were this
                                    post-FEIS report reviewable, it does not call into question the surveyors’ measurements.
                               20
                                    30
                                       TPEIS-0027 AR002630, AR002581 (2Q 2011, SP-023 “estimated FLOWS: none,” “seep was
                               21   covered with crushed rock”); AR002485 (3Q 2011, SP-023 “water movement minimal,”
                                    “[w]ater had pooled in many areas”); AR002064 (4Q 2011, SP-023 “pooled areas were
                               22   stagnant,” no measurement taken); AR002383 (1Q 2012, SP-023 a “clear pool” but “water
                                    movement minimal”); AR002152 (2Q 2012, SP-023 “a clear pond” but “movement was
                               23   minimal”); AR002041 (1Q 2012, BLM-03 “water was completely frozen,” no measurement
                                    taken); AR002360 (2Q 2012, BLM-03 “minimal water was observed,” no measurement taken);
                               24   AR002131 (3Q 2012, BLM-03 “flow very low,” no measurement taken).
                                    31
                                       BRL identifies that while the 2012–2013 “no flow” measurements of SP-030 and SP-032 were
                               25   listed as “0” in Table 5.1 of Piteau’s January 11, 2019 datasheet, TPEIS-0076 2019 GPS Shape
                                    Files at Table 5.1, the FEIS lists those baselines as “<1 gpm.” The January 11, 2019 data sheet
                               26   was a working copy that Piteau updated after incorporating further analysis, resulting in an
                                    updated version of Table 5.1 in the Q4 2018 Report submitted January 25, 2019. AR008613–14.
                               27   The January 25 Table 5.1 figures were updated again in the August 2019 Baseline Report in
                                    Table 3.4, incorporating four additional springs. TPEIS-0081 AR010632–34. The August 2019
                               28

                                                                                   13
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                                1   can be challenging,” “[f]low measurement techniques vary in relation to site and season,” and
                                2   while variability in measurements is expected it “improves with multi-decadal monitoring,”
                                3   which Lithium Nevada committed to in this Project. TPEIS-0642 AR060708–09. BRL presents
                                4   no reason why Piteau should have interpreted the prior surveyors’ “no flow” measurement—
                                5   which is logically less than the “<1 gpm” measurement—as zero flow. Furthermore, prior to
                                6   operations monitoring of spring flow both inside and outside the simulated 10-foot drawdown
                                7   isopleth will begin, TPEIS-0384 AR046679, AR046681, continually updating the model and
                                8   preparing for mitigation if needed. AR046685. The Court cannot “second-guess methodological
                                9   choice made by an agency in its area of expertise.” Inland Empire, 992 F.2d at 981.
                               10                      b. Piteau’s Spring Measurements
                               11      BRL extends certain32 prior criticisms of the SP-55 measurement and makes a new argument
                               12   that SP-042’s baseline was “misrepresented as 0 gpm.” BRL’s new criticism is unfounded, as
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                               13   every visit demonstrated standing water, not flow.33 BRL also criticizes Piteau’s characterization
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                               14   of SP-055 as ephemeral, claiming it “feeds 10 miles of pipelines during all months of the year.”
                               15   But the record does not bear out BRL’s argument. Although BRL has made this assertion since
                               16   the DEIS comment period, Piteau welcomed BRL to provide information regarding these pipes
                               17   and said it would add such information “to the database” to inform continuous monitoring
                               18   efforts, but noted that both the 10-foot drawdown isopleth and the 1-mile buffer area were still
                               19   “several miles away from SP-055” and that “additional data at [SP-055] is not sufficient to
                               20   change the impacts associated with mining at Thacker Pass Project.” TPEIS-0713 AR067623.
                               21   Both SP-055 and -042 are far beyond the additional 1-mile buffer around the zone of impact.
                               22   TPEIS-0384 AR045714. BRL fails to show how such a measurement at a spring far beyond the
                               23   additional 1-mile buffer around the zone of impact would make any difference, amounting to
                               24
                                    Report’s Table 3.4 matches the FEIS’s Table 3.4. TPEIS-0384 AR047815. The fact that an old
                               25   spreadsheet does not match the final product says nothing about its accuracy or reliability.
                                    32
                               26      BRL does not dispute Piteau’s accurate observation that SP-001 is no longer “a natural stream,”
                                    which is unrelated to Lithium Nevada’s prior exploration activities. ECF 239 at 28.
                                    33
                               27      The photos and spring forms demonstrate the truth of these measurements. TPEIS-0076,
                                    AR008504 (Q1 2018 “[s]tanding water”); at 29 (Q2 2018 “[s]tanding water”); AR008833 (Q3
                               28   2018 “[s]tanding water”); AR008656 (Q4 2018 “[s]tanding water”).
                                                                                   14
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                                1   fly-specking or, at most to harmless error. Drakes Bay Oyster Co. v. Jewell, 729 F.3d 967, 985
                                2   (9th Cir. 2013) (“Relief is available under the APA only for ‘prejudicial error.’”).
                                3        BRL fails to show Piteau lacked integrity. To “ensure” the integrity of an EIS an agency must
                                4   “identify any methodologies used and shall make explicit reference by footnote to the scientific
                                5   and other sources relied upon.” 40 C.F.R. § 1502.24 (2019). The FIES properly cites all
                                6   references and BRL does not argue Piteau’s data is unavailable. An EIS lacks integrity when it
                                7   relies on surveys that were “not conduct[ed]” for a large number of identified sites, Conservation
                                8   Nw. v. Rey, 674 F. Supp. 2d 1232, 1252 (W.D. Wash. 2009), but when measurements were taken
                                9   “[s]cientific integrity allows for the honest difference of opinion.” Holly Doremus, Scientific
                               10   and Political Integrity in Environmental Policy, 86 Tex. L. Rev. 1601, 1624 (2008); Earth Island
                               11   Inst., 351 F.3d at 1302 (agency was “entitled to use the data it collected” where it was “obtained
                               12   in compliance with the … methodology” and reasonably addressed “unreliable or preliminary”
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                               13   evidence). Piteau conducted highly variable measurements under the prescribed protocols and
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                               14   developed and reality-tested the model. TPEIS-0713 AR067622. Piteau’s data and analysis is
                               15   “sound” and of high “quality.” ECF 262 at 17.
                               16                       c. Groundwater Baseline
                               17        BRL again challenges one measurement from Piteau and one from the Stringham Report in
                               18   the groundwater baseline. BRL reargues Piteau’s datum correction of a single sensor (PZ17-01)
                               19   but does not challenge that that “[t]he adjustment did not occur to data collected during the
                               20   pumping test in October 2018,” meaning it “has effectively no bearing on the groundwater
                               21   impacts.” TPEIS-0713 AR067621 (emphasis added). BRL argues this insignificant correction
                               22   merited more attention but fails to show why and, BLM oversaw and managed Piteau.34 BRL’s
                               23   only response is to argue that Lithium Nevada incorrectly claimed Piteau monitored 100 wells.
                               24   ECF 262 at 13.35 That is false, as Lithium Nevada quoted the FEIS’s explanation that Piteau
                               25
                                    34
                                       It is not credible to contend that Piteau acted throughout the process like it could “get away”
                               26   with something by neglecting “self-investigation”—it was clear BRL might challenge the
                                    Project. If anything, Piteau was incentivized to follow all industry standards to be vindicated.
                               27   35
                                       BRL includes a citation to TPEIS-0448, repeating its suspicions of the graph PW18-01. BRL
                                    raised this issue in its untimely post-FEIS comments. But BRL fails to respond to Lithium
                               28

                                                                                    15
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                                1   collects data from “over 100 groundwater monitoring locations,” TPEIS-0713 AR067621
                                2   (emphasis added), meaning monitoring multiple parts of springs, creeks, and wells. Notably, the
                                3   very NDWR database BRL accuses Piteau of ignoring in its criticism of the Stringham report
                                4   was incorporated into the FEIS list of 111 monitoring locations. TPEIS-0711 AR-066170.
                                5      BRL again objects to BLM’s use of Piteau’s measurements and Stringham’s 2020 report in
                                6   assessing the groundwater baseline and asserts that NDWR’s historical monitoring of a particular
                                7   location36 should have been used instead. ECF 241 at 30–31. BRL misunderstands the import of
                                8   the numbers he cites. Had Stringham relied solely on NDWR’s single shallower depth-to-
                                9   groundwater measurement of 6.7ft to characterize the entire 640 acres within Section 33, she
                               10   would have determined that the estimated 5ft drawdown (i.e., the increase of depth-to-
                               11   groundwater increasing from 6.7 to 11.7ft) would mean the vegetation of concern (basin wildrye)
                               12   could still easily reach the groundwater because its roots can extend to a depth of 19ft. TPEIS-
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                               13   0343 AR044864. Instead, the deeper depth-to-groundwater range of 14-30ft means that a 5ft
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                               14   drawdown could “have a negative impact on basin wildrye production,” resulting in monitoring
                               15   that BRL’s recommended measurement would not. Id. Piteau and Stringham’s analysis37 was
                               16   more recent than NDWR’s and resulted in specific monitoring for BRL’s area of concern.
                               17   TPEIS-0343 AR044870. “[W]hen specialists express conflicting views, an agency must have
                               18   discretion to rely on the reasonable opinions of its own qualified experts even if, as an original
                               19   matter, a court might find contrary views more persuasive.” Earth Island Inst., 351 F.3d at 1301.
                               20   BRL challenges Piteau’s groundwater measurements, although such measurements are “highly
                               21   variable,” TPEIS-0713 AR067607, by pointing to measurements of a different area nearby. This
                               22
                                    Nevada’s explanation that the key is the graph’s depiction of the “drawdown over time,” TPEIS-
                               23   0711 AR066185, which does not change between the two graphs regardless of the starting water
                                    level. Piteau ran simulations confirming that “[t]he model reasonably matches the drawdowns
                               24   and recovery observed during aquifer testing.” AR066184–86. BRL does not address this.
                                    36
                               25      BRL argues Piteau described the monitoring location as the “NW 1/4 of Section 33” and
                                    because NDWR’s measurement was also in the NW portion, it must be the same place. But the
                               26   AR does not reflect the exact location of either measurement within this 160-acre quarter of a
                                    section for “high variable” measurements. TPEIS-0713 AR067607. This evidence was only
                               27   provided post-FEIS and is therefore unexhausted and should be disregarded.
                                    37
                                       BRL claims it’s “false” that Piteau’s data supported Stringham’s report, but Stringham
                               28   explicitly relied on Piteau’s groundwater levels. TPEIS-0343 AR044858–59.
                                                                                   16
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                                1   resulted in the FEIS identifying “specified monitoring and mitigation measures to protect these
                                2   resources.” AR067607–08. BRL simply disagrees and cites its own post-FEIS comments for
                                3   support. ECF 262 at 14 n.25. In such a difference of opinion on highly variable measurements,
                                4   the Court defers to the agency and its specialists. Native Ecosystems, 697 F.3d at 1053.
                                5                          d.      Pole Creek Baseline
                                6        As with other measurements, each of BRL’s allegations of error and unreliability regarding
                                7   the Pole Creek baseline are mischaracterizations or misunderstanding of the extensive data
                                8   collected and BLM’s expert’s interpretation of that data. BRL faults Piteau for terming “Pole
                                9   Creek [as] an ephemeral stream,” but the FEIS section cited focuses on the “lower reaches
                               10   … [which] are seasonally dry,” because only those lower reaches extend into the Project’s area
                               11   of impact. TPEIS-0384 AR047803.38 The FEIS acknowledges that “upper reaches of [Pole]
                               12   creek may flow perennially in intermittent sections,” AR046536, which is why the groundwater
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                               13   model “simulates perennial flow to the Upper and Middle reaches of Pole Creek.” AR046564.
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                               14   The simulated flows support the “belief that Pole Creek has perennial reaches, although not
                               15   observed down-gradient of SP-036” into the Project area. Id. Even with the conservative model
                               16   calibration assuming 65 gpm, 32 gpm, and 19 gpm in Upper, Middle, and Lower Pole Creek,
                               17   AR046565,39 the model predicts “[n]o measurable impacts to the Upper and Middle reaches of
                               18   Pole Creek”—simulated groundwater flow reductions are <1gpm. AR046582. Therefore, BRL’s
                               19   concerns carry no weight. While BRL contends Bartell’s expert’s measurements “should have
                               20

                               21   38
                                       BRL makes an unexhausted argument citing to post-FEIS comments regarding Lower Pole
                               22   Creek claiming there are “late season flows.” Dr. Powell’s dispute with Piteau fails. BRL
                                    contends that Pole Creek’s lower reach is “critical for LCT migration,” citing NDOW comments
                               23   that request the FEIS clarify that the “upper sections … [of] Pole Creek are perennial streams
                                    occupied by LCT.” TPEIS-1114 AR097073. While Piteau’s analysis does not disagree that
                               24   portions of Upper Pole Creek are perennial, BRL does not dispute that the BA only notes that
                                    the northern Upper Pole Creek area supports LCT, TPEIS-1396 AR104047. NDOW has not
                               25   identified LCT in Pole Creek since 2015. ECF 239 at 33 n.28; TPEIS-0384 AR046138 (“No
                                    LCT occur in Thacker Creek or lower reaches of Pole Creek”).
                                    39
                               26      While the actual inputs to the groundwater model were the observed 0 gpm, Piteau calibrated
                                    the conceptual model to conservative higher estimates of flow. TPEIS-0384 AR046565. Even
                               27   with those conservative estimates, Pole Creek’s “surface water flow components are unaffected”
                                    and the “baseflow decline” to Upper and Middle Pole is so small it is “beyond the ability to
                               28   effectively quantify with field measurements.” AR046579.
                                                                                   17
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                                1   been included as part of the baseline” BLM does not err when it chooses to rely on its expert
                                2   instead. ONDA v. Shuford, 2007 U.S. Dist. LEXIS 42614, at *21–22 (D. Or. June 8, 2007).
                                3        The hydrogeological model is robust, based on defensible extensive measurements, and a
                                4   reasonable use of modeling software in the NEPA process.40 Piteau’s additional measurements
                                5   were incorporated into the model with “[a] total of 150 water level targets” and “35 flux targets
                                6   … for the pre-mining calibration.” TPEIS-0711 AR066170.41 BRL does not dispute Piteau
                                7   conducted supplemental surveys but disputes those surveys were relevant to the hydrogeological
                                8   model, claiming Piteau only took three more measurements. ECF 262 at 14. But those
                                9   measurements were across three different seasons, meaning Piteau followed the Steven’s
                               10   Protocol recommendation to measure across seasons. TPEIS-0642 AR060719. These flow
                               11   measurements were scrutinized for accuracy, causing Piteau to determine that the “[h]igher flow
                               12   … observed in the June visit” were “part of spring runoff and not representative of baseflow
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                               13   conditions.” TPEIS-0374 AR-045396.42 Analyzing measurements to ensure they reflect true
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                               14   conditions is what BRL wants, but only if that scrutiny would produce a higher flow. Because
                               15   this analysis identifies the (over double) June flow as an outlier, BRL contends it is wrong—
                               16   based on decades-old NDOW measurements and its distrust of Piteau.43 BLM used “its technical
                               17
                                    40
                                       BRL cites its unexhausted post-FEIS comments on Piteau’s incorporation of
                               18   evapotranspiration (“ET”) into the baseline. But the FEIS explains that “[g]roundwater ET was
                                    simulated with the evapotranspiration package in MODFLOW-USG,” considering ET for all
                               19   measurements. TPEIS-0384 AR046550 (explaining “[t]he simulated groundwater budget for
                                    pre-mining conditions” incorporates “[d]ischarge occur[ring]” from ET).
                               20   41
                                       “[T]he model was calibrated to baseflow in Crowley Creek,” not Pole Creek. TPEIS-0406
                                    AR048356. Where BRL claims to contest the other pre-mining flux targets, he is repeating its
                               21   unmerited attacks on pre-Piteau flow measurements. ECF 262 at 14 n.28; supra § II.B.2.a.
                                    42
                               22      BRL repeats its concern that Lower Pole Creek will have a “50-percent reduction in flow.” But
                                    the FEIS clearly states when combining the flows from the “several ephemeral springs” making
                               23   up Lower Pole Creek (including “SP-039 which flows seasonally at rates greater than 150 gpm”)
                                    “[t]he magnitude of seasonal spring flow (>150gpm) is much greater than simulated groundwater
                               24   flow declines (14 gpm).” TPEIS-0711 AR066194. This means “[t]he potential reduction in
                                    groundwater flow to Lower Pole Creek should be interpreted as i) potential reduction in peak
                               25   flows and/or ii) the duration of spring discharge is slightly shortened.” Id.
                                    43
                                       BRL reiterates that BLM should have used NDOW measurements from 1987 without including
                               26   the date of those measurements. Cloud Found. v. BLM, 2013 U.S. Dist. LEXIS 43371, at *20
                                    (D. Nev. Mar. 26, 2013) (holding Plaintiffs failed to show that BLM’s use of data was unreliable
                               27   where plaintiffs relied on data that was only three years old). Agencies may differ in their
                                    measurements, and “the manner in which an agency resolves conflicting evidence is entitled to
                               28

                                                                                   18
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                                1   expertise to draw reasonable inferences from the available scientific information,” and using this
                                2   data in the model was not arbitrary or capricious. 44 Fallon Paiute-Shoshone Tribe v. U.S. DOI,
                                3   2022 U.S. App. LEXIS 21194, at *8 (9th Cir. Aug. 1, 2022).
                                4          C.      BLM Approved an Extensive Effective Monitoring and Mitigation Plan.
                                5      BRL erroneously argues mitigation is not possible because the baseline is unreliable. As
                                6   discussed, the model used conservative baseline flow estimates and Piteau and prior surveyors
                                7   accurately recorded their observations, meaning the baseline is robust. See § II.B.2. BRL
                                8   incorrectly asserts that baselines of “zero flow” mean that there will be no mitigation of
                                9   potential impacts.45 But due to the consistent quarterly monitoring within the mitigation plan
                               10   (which BRL neither attacks nor discusses) the majority of which begins “prior to the
                               11   commencement of mining,” TPEIS-0384 AR046681, Piteau will continuously add data to even
                               12   better understand the hydrogeological makeup of the Project area and refine the model’s inputs
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                               13   and outputs in coordination with the Technical Advisory Group. AR045573; AR047987
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                               14   (BLM, NDWR, and NDOW will review and approve the monitoring plan). This adaptive
                               15   management approach can incorporate “data …provided by other sources … [in]to the
                               16   database.” AR048021; AR048026 (“BLM may require reasonable modifications and
                               17   adjustments to … increase[] monitoring frequencies”). Where BLM “account[s] for …
                               18   uncertainty” by using conservative projections and adding an additional 1-mile buffer of
                               19   monitoring, the mitigation plan is reasonable. Cf. Maddalena v. U.S., 2010 U.S. Dist. LEXIS
                               20   145857, at *23–25 (S.D. Cal. Aug. 5, 2010). BLM extended monitoring under the mitigation
                               21   plan 1-mile beyond the area of predicted impacts, demonstrating the “[p]redictive simulations
                               22   are conservative with respect to drawdown extent …. Even under the simulated conditions the
                               23
                                    deference.” Trout Unlimited, 559 F.3d at 958. BLM reasonably relied on Piteau’s more
                               24   comprehensive and recent analysis.
                                    44
                               25      BRL does not contest that FWS agreed in the BA that “the Project is estimated to impact less
                                    than 1.0 percent of [Pole and Crowley Creek] stream flows.” TPEIS-1396 AR104048.
                                    45
                               26      BRL raises two emails to imply BLM distrusted the baseline, which address different topics
                                    altogether. The first shows BLM raised potential issues with Lithium Nevada in 2019, ensuring
                               27   that it would be addressed. TPEIS-0107 AR109236 (“BLM is interested in [Lithium Nevada’s]
                                    proposed method of … prevent[ing] draining of water sources to Pole Creek”). The second is
                               28   BLM’s description of BRL’s concern about an unrelated operator. TPEIS-1122 AR097325.
                                                                                   19
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                                1   predicted impacts to springs and flow in Pole Creek are minor and less than measurement
                                2   error.” TPEIS-0384 AR046597.46 Where BLM identifies impacts and establishes a monitoring
                                3   and mitigation plan—even if it does not “entirely eliminate impacts to water”47—BLM
                                4   satisfied its requirement to assess mitigation and “was within its discretion to conclude” the
                                5   monitoring in the mitigation plan was “the best approach.” Ctr. for Biological Diversity v.
                                6   BLM, 2017 U.S. Dist. LEXIS 137089, at *30–32 (D. Nev. Aug. 23, 2017). This conservative
                                7   monitoring plan and robust baseline demonstrate that BLM’s decision was reasonable.
                                8            D.     BLM Provided Adequate Publicly Available Information.
                                9        NEPA requires the public be informed regarding the decision-making process. 40 C.F.R.
                               10   § 1500.1(a). BRL does not contest that BLM provided the documents BRL requested for “all
                               11   data, models, studies and documents, in any way related to the Final EIS.” TPEIS-0874
                               12   AR082030; TPEIS-0872 AR081895 (BRL confirmed receipt).48 Nor does BRL contest that
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                               13   BLM is not legally required to continue responding to comments after the FEIS is complete. 49
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                               14   ECF 239 at 13–14. BRL complains that BLM “admit[ted]” that Fish and Wildlife Service’s
                               15   BA “was not publicly available,” ECF 262 at 13, 32, but does not dispute that there is no legal
                               16   requirement for public review of the BA or consultation process details. ECF 239 at 14–16.50
                               17

                               18   46
                                      BRL complains that “BLM [did] not address [its] mitigation argument,” ignoring Lithium
                                    Nevada’s response. ECF 239 at 35–36. BRL fails to respond to the fact that the early-warning
                               19   groundwater monitoring network will flag for mitigation any drawdowns to the extent they affect
                                    surface flows or groundwater users. TPEIS-0711 AR066300.
                               20
                                    47
                                      BRL erroneously contends “near immediate drawdowns” are projected to occur. But the graphs
                               21   cited demonstrate projected drawdowns over the course of forty plus years, and BRL does not
                                    explain how such a small decrease will noticeably impact the spring flow. TPEIS-0711 066572
                               22
                                    (SP-28); AR066580 (SP-036); 066583 (SP-039); 066584 (SP-040); 066587 (SP-043).
                                    48
                               23      BRL repeats the accusation that BLM “discussed … avoid[ing] responding to” BRL. ECF 262
                                    at 13. But Lithium Nevada explained that BLM did respond to BRL. ECF 239 at 12 n.8.
                               24   49
                                       Nor did BLM “falsely suggest[]” that Piteau did not prepare comment responses. See ECF 204
                               25   at 19 (citing emails that actual show Piteau contributed to the comment Reponses). Piteau was
                                    hired as a NEPA contractor. BLM never represented to BRL that BLM alone responded to
                               26   comments but did state that “[t]he comment response is BLM’s point of view” TPEIS-1439
                                    AR104975—because BLM reviewed and approved Piteau’s contributions. TPEIS-1405.
                                    50
                               27      BRL argues sulfur use was excluded from the DEIS. Lithium Nevada fully rebutted this. ECF
                                    239 at 5 n.2. Other commenters were able to identify the Phase 2 sulfur amount, TPEIS-0384
                               28   AR047995, and BLM responded to BRL’s comment on the Phase 2 amount. AR047998.
                                                                                   20
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                                1        BRL reargues that the “Mitigation Plan was not publicly available,” contending Lithium
                                2   Nevada incorrectly argued BRL’s “FEIS comments” addressed the October 2020 mitigation
                                3   plan. ECF 262 at 13. Not so—Lithium Nevada cited to BRL’s FEIS comments which
                                4   acknowledged that “LNC… develop[ed] a mitigation plan” and expressed concern with the
                                5   plan described in FEIS Appendix P (the May 2020 Plan). TPEIS-1489 AR106706.51 BLM
                                6   included the plan in the DEIS.52 The May 2020 Mitigation Plan outlined the same monitoring
                                7   objectives and mitigation approaches as the October 2020 Plan. ECF 239 at 12–13.
                                8        While BRL argues the May 2020 Plan did not specify “mitigation … on [the] Ranch’s
                                9   private lands,” BRL cites, not to a new aspect of the mitigation plan, but a specific piezometer
                               10   monitoring location “at the toe of Crowley Creek Fan,” a decision made “in coordination with
                               11   a local landowner.” TPEIS-0454 AR052553; TPEIS-1408 AR104284 (describing the same
                               12   monitoring of “Crowley Creek[’s] sub-irrgat[ion]” of Burns Field via piezometer
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                               13   monitoring”). Strangely, BRL appears to be claiming it was unaware of a change from the
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                               14   DEIS to the FEIS that BRL requested and participated in. As Lithium Nevada previously
                               15   explained, this detail of the October 2020 Plan simply expanded on the identified strategies in
                               16   the May 2020 Plan—namely, “measuring piezometric levels adjacent to the gaining reach of
                               17   Crowley Creek” to monitor “groundwater conditions” and “monitor water levels to the south.”
                               18   TPEIS-0312 AR040744.53 Therefore, the May 2020 Plan “discussed [mitigation] in sufficient
                               19   detail to ensure that environmental consequences have been fairly evaluated,” while BLM
                               20   continued to develop the Plan in compliance with the law which does not require “that a
                               21

                               22

                               23
                                    51
                                       BRL contends that it never commented on the mitigation plan in Appendix P because it
                               24   commented only on “the FEIS in general.” But BRL is unnecessarily pedantic—the mitigation
                                    plan was in the FEIS, and BRL’s “FEIS comments” specifically addressed elements of that plan.
                               25   52
                                       Compare TPEIS-0312 AR040743 with TPEIS-0384 AR046677. BRL disagreed with the May
                               26   2020 Plan, providing “knowing[] comments.” ECF 262 at 33; TPEIS-1489 AR106757 (“the
                                    DEIS is proposing to use monitoring as a substitute for mitigation”); AR106742 (referring to
                               27   mitigation for stock water, TPEIS-0312 AR040752, and deriding the effort as insufficient).
                                    53
                                       The expanded October 2020 Plan incorporated BRL’s comments to increase protection of
                               28   BRL’s areas of concern. TPEIS-1407 AR104257–58.
                                                                                   21
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                                1   complete mitigation plan be actually formulated and adopted” when signing the ROD.54
                                2   Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 352 (1989).
                                3               E. BLM Complied with FLPMA.
                                4        BRL argues that the Project does not comply with required sage grouse mitigation or the
                                5   VRM categories under the applicable RMP as amended by the 2015 Greater Sage-Grouse
                                6   (“GSG”) Resource Management Plan Amendments (“RMPA”). Both claims demonstrate a
                                7   misunderstanding of the law, the AR, and the BLM’s decision—which requires significant
                                8   GSG mitigation.55 BRL’s cited caselaw is inapposite for locatable mining projects.56 As BRL
                                9   and the RMPA recognize, the lithium ore bodies are “not flexible in terms of location,” and
                               10   certain limitations or mandates only apply in the context of locatable minerals “to the extent
                               11   allowed by law.” TPEIS-0713 AR067723. The RMPA expressly provides that development of
                               12   locatable minerals is “allowed under the General Mining Law of 1872 on all BLM-
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                               13   administered ... lands, unless they are withdrawn from mineral entry.” ECF 242, Ex. 1, Sec.
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                               14   3.13 at 3-139.57 Because “agencies ‘have less discretion with respect to when and where
                               15
                                    54
                                       BRL argues BLM “hid[] … key documents,” naming the Stringham Report and the Sensitivity
                               16   Analysis. ECF 33 at n.53. But both the additional Pole Creek measurements and September 2020
                                    Stringham analysis were conducted in response to DEIS comments, so they were appropriately
                               17   cited in the FEIS, TPEIS-0384 AR045987, and provided to BRL. TPEIS-0872 AR081895.
                                    55
                                       BRL incorrectly claims that BLM “never attempted to locate the mine outside sage grouse
                               18   … habitat.” ECF 262 at 36 n.56. But Lithium Nevada moved the project previously, TPEIS-
                                    0384 AR045794 specifically to “site[] the Project facilities away and south of the high Montana
                               19   Mountains area to specifically avoid high-value sage-grouse habitat.” AR045844.
                                    56
                               20      Rags Over the Ark. River v. BLM, 77 F. Supp. 3d 1038, 1044 (D. Colo. 2015) (art installation);
                                    Gardner v. BLM, 633 F. Supp. 2d 1212, 1227 (D. Or. 2009) (ORV use); Nat. Res. Def. Council,
                               21   Inc. v. Jamison, 815 F. Supp. 454, 462 (D.D.C. 1992) (coal lease); Theodore Roosevelt
                                    Conservation P’ship v. Salazar, 605 F. Supp. 2d 263, 283 (D.D.C. 2009) (oil lease); Cloud
                               22   Found., 2013 U.S. Dist. LEXIS 43371, at *32–33 (wild horses); Cal. Coastal Com v. Granite
                                    Rock Co., 480 U.S. 572, 587–88 (1987) (considering if state environmental laws were preempted
                               23   by federal law); Bohmker v. Oregon, 903 F.3d 1029, 1038 (9th Cir. 2018) (same); ONDA v.
                                    BLM, 2014 U.S. Dist. LEXIS 137154, at *1–2 (D. Or. Sep. 29, 2014) (lacking jurisdiction to
                               24   evaluate FLPMA claims).
                                    57
                                       BRL contends that BLM claimed it would ensure full compliance with RMPs in Mineral Policy
                               25   Center (“MPC”) v. Norton, 292 F. Supp. 2d 30, 48 (D.D.C. 2003). MPC did not evaluate a
                                    proposed project and observed that future projects would comply with RMPs “[c]onsistent with
                               26   the mining laws.” Id. at 49. BLM could not deny approval of the Project solely because of GSG
                                    habitat because it would work an implicit withdrawal of the area from mining in violation of
                               27   FLPMA. Therefore, “[c]onsistent with the mining laws,” BLM reasonably applied certain
                                    requirements. Earthworks v. DOI, 496 F. Supp. 3d 472, 492 (D.D.C. 2020) (“MPC says nothing
                               28

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                                1   mineral exploration and mining under the Mining Law is conducted,’” W. Watersheds Project
                                2   v. Bernhardt, 519 F. Supp. 3d 763, 775 (D. Idaho Feb. 11, 2021), most stipulations do not
                                3   apply to locatable mineral development. ECF 242 Ex. 1, Sec. 3.13 at 3-139.58 BLM terms this
                                4   “nondiscretionary” under FLPMA which expressly amended the Mining Law in four ways,
                                5   none of which apply to RMPs. ECF 242 at 6 (quoting 43 U.S.C. § 1701, note (h) (“All actions
                                6   by the Secretary concerned under this Act shall be subject to valid existing rights”). FLPMA
                                7   does not amend the Mining Law of 1872 to impair the rights of any locators. Earthworks, 496
                                8   F. Supp. 3d 472, 493 n.14. Oddly, BRL relies on 43 U.S.C. § 1712(e)(3) to argue that an RMP
                                9   can “regulate” mining rights when that section makes express that any impairment of mining
                               10   rights can only be achieved through a mineral withdrawal under 43 U.S.C. § 1714. Nor does
                               11   BRL’s cited case support that an RMP is an “environmental regulation” which governs how
                               12   mining occurs as the RMP itself does not purport to do that but instead recognizes that most
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                               13   stipulations do not apply to nondiscretionary locatable mineral projects.59 And the Project still
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                               14   engages in comprehensive GSG mitigation strategies that BRL does not refute. Lithium
                               15   Nevada will offset GSG impacts through use of the BLM-approved Nevada Conservation
                               16   Credit System (“CCS”). TPEIS-0384 AR045592–93. The CCS observed that although neither
                               17   highly suitable habitat nor breeding habitat occur in the Project area, it used an area over twice
                               18   the size of the Project area to analyze indirect effects to GSG and used the highest possible
                               19   score for each map unit to determine the “debits” for the Project. TPEIS-0060 AR006249,
                               20   AR006267, AR006272. This is in addition to Lithium Nevada re-locating the Project to avoid
                               21   “potential direct impacts to resources []in the Montana Mountains.” TPEIS-0384 AR045794.
                               22

                               23

                               24   about the practical process of determining whether a claim is valid, whether the government has
                                    an affirmative obligation to do so, or when such an obligation, if it exists, might attach”).
                               25   58
                                       While this Court remanded the ARMPA for NEPA violations, it did not vacate the ROD. W.
                               26   Expl., LLC v. DOI, 250 F. Supp. 3d 718, 750 (D. Nev. 2017).
                                    59
                                       Were “State laws or regulations [to] conflict with this subpart regarding operations on public
                               27   lands, [Lithium Nevada] must follow the requirements of this subpart.” 43 C.F.R. § 3809.3.
                                    Where BLM regulations supersede conflicting state laws, the RMP—not a law or regulation --
                               28   would similarly only apply where allowed by BLM regulations. ECF 270 at 1-11.
                                                                                    23
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                                1        BRL argues that more GSG requirements should apply because there has not been a
                                2   “discovery of valuable minerals” under certain mining claims. BRL concedes that the mine pit
                                3   is mineralized. ECF 262 at 37 n.57. BRL ignores there is mineralization throughout the Project.
                                4   TPEIS-0660 AR061833 (mineralization “throughout the caldera”); TPEIS-0234 AR033937.
                                5   While mine construction and exploration is entirely within the caldera, BRL argues that there
                                6   are parts of the Project “located outside the McDermitt Caldera, where lithium is not found,”
                                7   citing to his DEIS comments challenging Lithium Nevada’s lode claims under the land used
                                8   exclusively for constructing a water line.60 But this powerline constitutes allowable occupancy
                                9   of “structure[s] fixed to the ground by … poles,” authorized under 43 C.F.R. § 3715.0-5.
                               10        Contrary to BRL’s construction, “the Mining Law, its implementing regulations, and
                               11   related case law have never required BLM to verify the validity of a claim by independently
                               12   confirming discovery.” Earthworks, 496 F. Supp. 3d at 492. BLM’s regulations consider
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                               13   validity of mining claims only for lands segregated or withdrawn, 43 C.F.R.§§ 3809.100,
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                               14   3809.411(d)(3); and expressly allow use of public lands under the Mining Law so long as the
                               15   use is reasonably incident to and calculated to lead to the extraction of minerals. Id. § 3715.2;
                               16   ECF 242 at 3–6.61 Consistent with the law and BLM regulations, BLM has never required a
                               17   validity determination on BLM public lands that are neither segregated nor withdrawn despite
                               18   unsuccessful challenges to its mining regulations requesting that it do so. Earthworks, 496 F.
                               19   Supp. 3d 492–93. BRL mistakenly relies on Center for Biological Diversity v. USFWS, 33
                               20   F.4th 1202, 1218 (9th Cir. 2022), but that case is inapposite as it does not consider FLPMA or
                               21   BLM’s regulations and involves distinguishable facts from this case as detailed in ECF 270 at
                               22   1-11 incorporated by reference. BLM required mitigation and required design features that
                               23   avoid surface disturbance during GSG breeding season, anti-perch devices to prevent
                               24   predation, TPEIS-0384 AR045844, and reclaim of disturbed areas to “pre-disturbance
                               25
                                    60
                               26      BRL contends that BLM needed to investigate the validity of Lithium Nevada’s lode claims
                                    under the proposed powerline. This irrelevant argument can only be raised by a rival mine
                               27   claimant, see ECF 237 at 4, and the use of the land is authorized under a § 3715.0-5 in any event.
                                    61
                                       Courts defer to BLM’s interpretation of the Mining Law. Grand Canyon Trust v. Provencio,
                               28   26 F.4th 815, 824 (9th Cir. 2022).
                                                                                    24
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                                1   conditions,” AR045577, so that “[c]oncurrent reclamation will be maximized to the extent
                                2   practicable to accelerate revegetation of disturbed areas.” AR045826.62 BLM properly applied
                                3   FLPMA and its Mining Regulations to authorize the Project.
                                4               F. BRL Lacks Standing under NEPA.
                                5        BRL is concerned about having less groundwater available for commercial purposes. City
                                6   of Fernley v. Conant, 2021 U.S. Dist. LEXIS 237595, at *11–12 (D. Nev. Dec. 13, 2021). Mr.
                                7   Bartell’s63 scoping comments noted two environmental concerns both in the context of his
                                8   economic concerns. TPEIS-1489 AR106854; AR106853. These two asides in 9 pages of
                                9   commercial concerns do not change that “the gravamen of the harm alleged is economic.”
                               10   Fernley, 2021 U.S. Dist. LEXIS 237595, at *13. Although after obtaining a lawyer Mr.
                               11   Bartell’s complaints began making a point of alleging concern for the health of the
                               12   environment, it does not change that the only manner in which he is claiming injury to himself
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                               13   is by the feared impact to his ranching operations. W. Radio Servs. Co. v. Espy, 79 F.3d 896,
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                               14   903 (9th Cir. 1996) (later attempts to characterize economic harms as environmental did not
                               15   establish standing). His declaration64 begins and ends with economic concern. ECF 206 ¶¶ 1,
                               16   41. Adding environmental claims once litigation seemed likely does not demonstrate that his
                               17   ranching interests are “‘systematically, not fortuitously’ … aligned with those that ‘Congress
                               18   sought to protect’” under NEPA. Yount v. Salazar, 2013 U.S. Dist. LEXIS 2673, at *59 (D.
                               19   Ariz. Jan. 8, 2013) (citations omitted). Mr. Bartell therefore lacks standing under NEPA.
                               20                                           III. CONCLUSION
                               21            For all these reasons, Lithium Nevada’s Motion should be granted.
                               22            Dated: August 11, 2022.
                                                                                    /s/ Laura K. Granier
                               23
                                    62
                               24      BRL does not contest that VRM “classes are informational in nature,” nor rebut caselaw
                                    concluding that the Court “will not second-guess the agency’s weighing of the … visual resource
                               25   areas in light of its experience and expertise.” ECF 239 at 39. BLM reasonably determined that
                                    “the adverse visual impacts were not significant enough to justify disapproving the project.” Id.
                               26   63
                                       It is “physically impossible for commercial ranches to enjoy the beauty of … natur[e].” Duval
                               27   Ranching Co. v. Glickman, 965 F. Supp. 1427, 1441 n.7 (D. Nev. 1997).
                                    64
                                       BRL’s contention that it cited to the “entire[ty]” of Mr. Bartell’s standing section is for briefing
                               28   on the motion to strike that has concluded. These untimely arguments on it should be disregarded.
                                                                                      25
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